    Case: 1:17-cv-01559 Document #: 88 Filed: 04/18/19 Page 1 of 1 PageID #:1230




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                 EASTERN DIVISION

ALI GADELHAK, on behalf                       )
of himself and all others similarly situated, )
                                              )
               Plaintiff,                     )    17-cv-1559
                                              )
       v.                                     )    Hon. Edmond Chang
                                              )
                                              )
AT&T SERVICES, INC.                           )
                                              )    JURY DEMAND
                                              )
               Defendant.                     )
                                       NOTICE OF APPEAL

       Ali Gadelhak, the plaintiff in this proposed class action, hereby appeals on behalf of

himself and all others similarly situated to the United States Court of Appeals for the Seventh

Circuit from the final judgment entered on the 29th day of March 2019; from the order entered on

the 29th day of March 2019 granting defendant AT&T Services, Inc.’s motion for summary

judgment and denying Plaintiff’s motion for summary judgment; and from any other orders

relating to the entry of judgment. Plaintiff is qualified to bring the appeal as the proposed

representative of the class.

Dated: April 18, 2019

                                                           Respectfully submitted,

                                                           By: /s/ Timothy J. Sostrin
Keith J. Keogh
Timothy Sostrin
Michael Hilicki
Keogh Law, Ltd.
55 W. Monroe St., Ste. 3390
Chicago, IL 60603
312.726.1092 (office)/312.726.1093 (fax)
TSostrin@KeoghLaw.com
Attorneys for Plaintiff
